
4 U.S. 450 (____)
4 Dall. 450
Moliere's Lessee
versus
Noe.
Supreme Court of United States.

*451 The point reserved was argued on the 10th of December 1806, by Levy, M`Kean, S. Levy, and J. Sergeant, for the plaintiff, and Ingersoll and Hopkinson, for the defendant: and the following sections of several acts of Assembly, became material in the discussion.
*453 On the 20th of December 1806, the chief justice delivered the opinion of the Court, in the following terms:
TILGHMAN, Chief Justice.
This cause was tried before me at a Court of Nisi Prius, held last July, when the point was reserved, which is now to be decided. Without entering into an unnecessary detail of facts, the question may be stated to be simply this: whether the purchaser of lands of a deceased person, sold by order of an Orphan's Court, since the 19th of April 1794, holds them discharged from the lien of a judgment; obtained against the intestate in his life.
Ever since the year 1705, the Orphan's Court have had power, to order sale of such part of the land of persons dying intestate, as they judged necessary, for the payment of their debts, education and maintenance of their infant children, and improvement of the residue of the estate. But it was not, until the passing of the act of the 19th of April, 1794,[(2)] that any express provision was made with respect to the manner in which the purchaser should hold the land: I mean, whether it should be liable or not, in his hands, to the debts of the intestate. Yet, although there was no legislative provision, the public mind had, probably, received an impression from the sentiments of the late chief justice Shippen, delivered, when he was president of the Court of Common Pleas, in the case of Graff v. Smith's administrators.[(3)] The question before the Court, in that case, did not, it is true, regard a judgment creditor; yet the expressions of the president are very general, and seem strongly to intimate an opinion, that the purchaser should hold the lands discharged even from judgments. I do not mean, however, to say, that that point was decided. After this decision, in the year 1789, came the act of the 19th of April 1794, which I shall now consider.
The[(4)] 19th section gives the same power, which had been vested in the Orphan's Court, by the act of 1705, that is to say, to order sale of such part of the lands, as they should, from time to time, think proper, for the payment of debts, maintenance and education of children, and improvement of the residue of the estate.
The 20th section forbids the Court to order a sale, until they have ascertained, in the manner therein mentioned, the amount of the intestate's personal estate, and of the debts due from him.
The 21st section declares, "that no lands or tenements so as "aforesaid sold, by order of the Orphan's Court, shall be liable "in the hands of the purchaser, for the debts of the intestate."
If we consider the plain meaning of these words, the lands thus sold, are discharged from the lien of judgments. I think no man, learned or unlearned, would understand the word debts, as *454 excluding judgments. The counsel for the plaintiff do not contend so; but they argue, that although a judgment is a debt (taking the word debt in its largest signification) yet, to avoid great injustice and inconvenience, the legislature must be supposed to have intended only those debts, which were not a lien, in the life of the intestate. The avoidance of injustice, and inconvenience, is a most desirable object, and the Court will always strive to attain it. But they must not overleap the bounds of their duty. They have power to construe laws, but not to make, or alter them; and where the meaning of the legislature is plain, the Court have no right to regard inconveniencies. General expressions have sometimes been construed, so as to be restrained to particular cases; but to authorise such construction, it must appear that the use of the words, in their general sense, would produce absurdity, contradiction, or such flagrant injustice, as it could not be supposed the legislature meant to sanction. Upon a careful examination of the act in question, I cannot see that the discharge of the lands from the lien of judgment in the hands of the purchaser, will produce any such consequences. No inconvenience will result, if the Orphan's Court and the administrator do their duty. The lands will certainly sell better, for being discharged from liens; and it makes no odds to the judgment creditors by what person they are sold, provided they are sold fairly, and the proceeds faithfully applied. I am clearly of opinion, that they must be applied to the payment, in the first place, of the liens which existed in the life of the intestate, according to their respective priority. There is no intimation in any part of the act, to the contrary, and to say, that judgment creditors should not have a preference, in the application of such proceeds, would produce this monstrous injustice, that those creditors would preserve the benefit of their lien, in case a man made a will, but lose it if he happened to die intestate.
Before I dismiss this subject, I will give my opinion concerning debts due by mortgage, which were mentioned in the course of the argument. I conceive them to stand on a different footing from judgments, because the mortgagee, is, strictly speaking, the owner of the land, and may recover it in an ejectment. The mortgagor has no more than an equity of redemption; nor have the Orphan's Court power to sell a greater estate than he is lawfully possessed of. It will be seen, that in the 14th section of the act, where the order in which debts shall be paid is designated, there is no mention of mortgages, which evidently shews that the legislature took it for granted, that the mortgagee looked to the land for his security. The question now decided, is of importance to the public, particularly as different opinions have been entertained concerning it. As it must henceforth be considered as settled, I make no doubt but the Orphan's Court, in the several counties, will use proper vigilance to prevent injury to judgment creditors.
*455 They have full power to see that sales are made fairly, and with due notice, and to exact security from the administrator, in proportion to the increased funds which may come to his hands. These precautions, assisted by the attention of the creditors to their own interest, will, I flatter myself, produce sales to the greatest advantage, and faithful application of their proceeds.
My opinion is, that the defendant, the purchaser at the sale ordered by the Orphan's Court, holds the land, discharged from the plaintiff's judgment.
YEATES, Justice, who was present at the argument, informed the chief justice that he concurred with this opinion; and
BRACKENRIDGE, Justice, expressed his concurrence, generally.
Judgment to be entered for the defendant.
NOTES
[(2)]  St. L. 521.
[(3)]  1 Dal. 481, 486.
[(4)]  3 St. L. 526.

